                      Case Judgment
AO 245C (Rev. 09/) Amended 2:19-cr-00069-JAD-DJA
                                    in a Criminal Case               Document 51 Filed 12/03/21 (NOTE:
                                                                                                 PageIdentify
                                                                                                       1 of Changes
                                                                                                              9     with Asterisks (*))
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________ District
                                                            District     of __________
                                                                     of Nevada
                                                                            )
              UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
           MICHAEL LAVELLE COLLINSWORTH                                     )   Case Number: 2:19-cr-00069-JAD-DJA
                                                                            )   USM Number: 49376-048
Date of Original Judgment:             8/30/2021                            )   Richard Pocker, CJA
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              1 of the Information [ECF No. 4]
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                                  Nature of Offense                                          Offense Ended                Count
18 U.S.C. §§ 922(g)(1) and 924(a)(2)              Felon in Possession of a Firearm                          8/11/2018                   1




       The defendant is sentenced as provided in pages 2 through                7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                           12/3/2021
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                       Jennifer A. Dorsey U.S. District Judge
                                                                                Name and Title of Judge
                                                                                                            12/3/2021
                                                                                Date
AO 245C (Rev. 09/) Case
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                     Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page         2     of         7
DEFENDANT: MICHAEL LAVELLE COLLINSWORTH
CASE NUMBER: 2:19-cr-00069-JAD-DJA

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
30 MONTHS to run consecutive to sentences in case nos. 2:14-cr-00281-GMN-NJK and 2:17-cr-00087-JAD-PAL.




✔
G      The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends that the defendant be designated to either FCI Petersburg or FCI Marianna.




✔
G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                G     a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                           .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
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AO 245& (Rev. ) $PHQGHGJudgment in a Criminal Case                                                     (NOTE: Identify Changes with Asterisks (*))
                    Sheet 3 — Supervised Release
                                                                                                  Judgment—Page          3        of             7
DEFENDANT: MICHAEL LAVELLE COLLINSWORTH
CASE NUMBER: 2:19-cr-00069-JAD-DJA
                                                             SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

                                                                    3 YEARS




and must comply with the following VWDQGDUGFRQGLWLRQVPDQGDWRU\FRQGLWLRQVDQGVSHFLDOconditions:

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

        You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
          release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
        After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed.
        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
          court or the probation officer.
        You must answer truthfully the questions asked by your probation officer.
        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
          the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
          take any items prohibited by the conditions of your supervision that he or she observes in plain view.
        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
          days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
          aware of a change or expected change.
        You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
          designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
       If WKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
          UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDOUHFRUGDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ7KH
          SUREDWLRQRIILFHUPD\FRQWDFWWKHSHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDO
          UHFRUG
       You must follow the instructions of the probation officer related to the conditions of supervision.
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AO 245& (Rev. )   $PHQGHGJudgment in a Criminal Case                                          (NOTE: Identify Changes with Asterisks (*))
                       Sheet 3A — Supervised Release

DEFENDANT: MICHAEL LAVELLE COLLINSWORTH                                                         Judgment—Page         4        of        7
CASE180%(5 2:19-cr-00069-JAD-DJA

                                     MANDATORY CONDITIONS OF SUPERVISION
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court, not to exceed 104 tests annually.
              G The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check if applicable)
4.    <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                                Date
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                     Sheet 3D — Supervised Release                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page       5      of         7
DEFENDANT: MICHAEL LAVELLE COLLINSWORTH
CASE NUMBER: 2:19-cr-00069-JAD-DJA

                                   SPECIAL CONDITIONS OF SUPERVISION
 1. Substance Abuse Treatment – You must participate in an inpatient substance abuse treatment program and follow the
 rules and regulations of that program. The probation officer will supervise your participation in the program (provider,
 location, modality, duration, intensity, etc.).

 2. Drug Testing – You must submit to substance abuse testing to determine if you have used a prohibited substance.
 Testing shall not exceed 104 tests per year. You must not attempt to obstruct or tamper with the testing methods.

 3. No Alcohol – You must not use or possess alcohol.

 4. Mental Health Treatment – You must participate in a mental health treatment program and follow the rules and
 regulations of that program. The probation officer, in consultation with the treatment provider, will supervise your
 participation in the program (provider, location, modality, duration, intensity, etc.).

 5. Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as defined
 in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search
 conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
 You must warn any other occupants that the premises may be subject to searches pursuant to this condition.

 The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
 violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must
 be conducted at a reasonable time and in a reasonable manner.

 6. No Gang Affiliation – You must not communicate, or otherwise interact, with any known member of the Gerson Park
 Kingsman gang, without first obtaining the permission of the probation officer.
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                      Sheet 5 — Criminal Monetary Penalties                                                    (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page        6      of          7
DEFENDANT: MICHAEL LAVELLE COLLINSWORTH
CASE NUMBER: 2:19-cr-00069-JAD-DJA
                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment          5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS            $ 100.00            $                                $                             $                        $


G The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                            Total Loss***                        Restitution Ordered                        Priority or Percentage




TOTALS                            $                         0.00          $                          0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for        G fine         G restitution.
     G the interest requirement for the      G fine         G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                      Sheet 6 — Schedule of Payments                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page      7      of         7
DEFENDANT: MICHAEL LAVELLE COLLINSWORTH
CASE NUMBER: 2:19-cr-00069-JAD-DJA

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                 100.00             due immediately, balance due

          G not later than                                     , or
          G in accordance with G C,             G D,     G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with              G C,       G D, or G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
     (including defendant number)                    Total Amount                       Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      FINAL ORDER OF FORFEITURE ATTACHED,


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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                                                                           2



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 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8

 9 UNITED STATES OF AMERICA,                         2:19-CR-069-JAD-DJA

10                  Plaintiff,                       Final Order of Forfeiture

11          v.

12 MICHAEL LAVELLE COLLINSWORTH,

13                  Defendant.

14         The United States District Court for the District of Nevada entered a Preliminary
15 Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C.

16 § 924(d)(1) with 28 U.S.C. § 2461(c) based upon the plea of guilty by Michael Lavelle

17 Collinsworth to the criminal offense, forfeiting the property set forth in the Plea Agreement

18 and the Forfeiture Allegation of the Criminal Information and shown by the United States

19 to have the requisite nexus to the offense to which Michael Lavelle Collinsworth pled guilty.

20 Criminal Information, ECF No. 4; Plea Agreement, ECF No. 6; Arraignment & Plea, ECF

21 No. 7; Preliminary Order of Forfeiture, ECF No. 11.

22         This Court finds that on the government’s motion, the Court may at any time enter
23 an order of forfeiture or amend an existing order of forfeiture to include subsequently

24 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

25 32.2(b)(2)(C).

26         This Court finds the United States published the notice of forfeiture in accordance
27 with the law via the official government internet forfeiture site, www.forfeiture.gov,

28 consecutively from July 3, 2019, through August 1, 2019, notifying all potential third parties
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 1   of their right to petition the Court. Notice of Filing Proof of Publication Exhibits, ECF No.

 2   18-1, p. 5.

 3          This Court finds no petition was filed herein by or on behalf of any person or entity

 4   and the time for filing such petitions and claims has expired.

 5          This Court finds no petitions are pending regarding the property named herein and

 6   the time has expired for presenting such petitions.

 7          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 8   all possessory rights, ownership rights, and all rights, titles, and interests in the property

 9   hereinafter described are condemned, forfeited, and vested in the United States pursuant to

10   Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C.

11   § 924(d)(1) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(n)(7) and shall be disposed of

12   according to law:

13          1.      Lorcin subcompact .380 caliber semiautomatic pistol, serial number 436964;

14          2.      6 rounds of .380 caliber ammunition; and

15          3.      any and all ammunition

16   (all of which constitutes property).

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all

18   forfeited funds, including but not limited to, currency, currency equivalents, certificates of

19   deposit, as well as any income derived as a result of the government’s management of any

20   property forfeited herein, and the proceeds from the sale of any forfeited property shall be

21   disposed of according to law.

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

23   copies of this Order to all counsel of record.

24          DATED _____________________,
                  August 30, 2021.       2021.

25
26

27                                                JENNIFER A. DORSEY
                                                  UNITED STATES DISTRICT JUDGE
28

                                                      2
